'RFXPHQWLV'(1,('DVPRRW



                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


        UNITED STATES OF AMERICA                      )
                                                      )
                                                      )
               v.                                     )      No. 3:11-cr-00012
                                                      )      Judge:LVHPDQ
                                                      )
        DEDRIC SHINE                                  )


                          MOTION FOR LEAVE TO FILE UNDER SEAL

               Through counsel, Dedric Shine requests that the court permit him to file under

        seal in the above-referenced case. In support of this motion, defendant would show the

        following: The “Administrative Practice and Procedures for Electronic Case Filing

        (ECF) adopted by this Court in Administrative Order No. 167 at ¶ 5.07 requires parties to

        file a motion seeking leave of court prior to filing any documents electronically under

        seal. In this case the document to be filed under seal contains sensitive and confidential

        information, and defense counsel therefore requests that this item be placed under seal.

                                                      s/ William I. Shockley
                                                      William I. Shockley (BPR #26137)
                                                      Attorney for Defendant
                                                      4505 Harding Road, Ste. 126
                                                      Nashville, Tennessee 37205
                                                      Tel. 615-497-8550
                                                      Fax 615-730-9741

                               CERTIFICATE OF SERVICE

               The undersigned certifies that a true and correct copy of the foregoing document
        was served by electronic means through the CM/ECF filing system on the 25th day of
        February, 2012 to Sunny A.M. Koshy, Assistant United States Attorney, 110 Ninth
        Avenue S., Suite A961, Nashville, Tennessee 37203 and to all counsel of record.

                                                      s/ William I. Shockley




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